
PER CURIAM.
Pedro Delgado Cotto appeals his judgment and sentence for burglary of a dwelling. While we find no substantive merit in this appeal, we note that the lower court erred in imposing court costs against Cotto, who earlier had been adjudged indigent.
Accordingly, we strike the costs of $10 and $2 assessed against appellant under sections 960.20 and 943.25(4), Florida Statutes (1981). See Brown v. State, 427 So.2d 271 (Fla. 2d DCA 1983). Except as set forth above, we affirm the judgment and sentence.
GRIMES, A.C.J., RYDER, J., and HAN-LON, MORTON, J., Associate Judge, concur.
